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                       HEALTH SERVICES AGREEMENT

        THIS HEALTH SERVICES AGREEMENT (the "Agreement"), is entered into as of the
1st day of October 2014 by and between the Sheriff of Leon County, Florida, a County
Constitutional Officer of the State of Florida ("Sheriff') and Corizon Health, Inc., a Delaware
corporation, ("Corizon"). Services under this Agreement shall commence on October 1, 2014 and
shall continue in accordance with Section 8.1. The Sheriff and Corizon shall hereinafter be
collectively refel1'ed to as the "Parties."

                                         WITNESSETH:

        WHEREAS, in accordance with Chapter 951 of the Florida Statutes, the Sheriff has been
designated by the Leon County Board of County Commissioners as the Chief Correctional Officer
of the County Correctional System (hereinafter refened to as the "Jail"); and

        WHEREAS, the Sheriff is charged by law with the responsibility for obtaining and
providing reasonably necessary medical, psychiatric, dental, and/or other health care services for
persons remanded to his care, custody, and control (hereinafter referred to as "inmates"), within the
Jail; and

       WHEREAS, the County Conectional System consists of the Jail located at 535 Appleyard
Drive, Tallahassee, Florida 32304; and

        WHEREAS, the Sheriff, which receives funding as approved by the Board of County
Commissioners for the Jail, desires to enter into this Agreement with Corizon to promote this
objective; and

        WHEREAS, Corizon is in the business of providing correctional health care services and
desires to provide such services for the Sheriff under the terms and conditions hereof,

        NOW, THEREFORE, in consideration of the covenants and promises hereinafter made,
the Parties hereto agree as follows:


                          ARTICLE I: HEALTH CARE SERVICES

        1.1 General Engagement. The Sheriff hereby contracts with Corizon to provide for the
delivery of reasonably necessary medical, dental, and mental health care to individuals under the
custody and control of the Sheriff and physically incarcerated at the Jail. Individuals who, during
the arresting process by any state, county, or municipal law enforcement officer, sustains an injury
at the time of a lawful arrest, or is found to have a pre-existing illness and is immediately
transported by the arresting agency to a designated hospital or medical facility prior to booking of
such person into the Jail, shall also be the financial responsibility of Corizon, subject to the
limitations set forth in Section 1.5 hereafter.

     1.2 Scope of General Services. The responsibility of Corizon for medical care of an inmate
commences under this Agreement after an inmate is taken into custody by any law enforcement


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agency with the intention of transporting the inmate to the Jail for booking and Corizon is given
reasonable opportunity to assume management of the medical care of that inmate. It is required
that the Sheriff notifies the on-site Corizon staff of any bookings performed outside the Jail.
Corizon shall provide health care services for all persons committed to the custody of the Jail,
except individuals sentenced to and participating in the Sheriffs Work Camp Program and those
identified in Section 1. 7. Corizon shall provide on a regular basis, all professional medical, dental,
mental health (excluding in-patient psychiatric hospitalization), related health care and
administrative services for the inmates, a comprehensive health evaluation of each inmate
following booking into the Jail in accordance with NCCHC and Florida Model Jail Standards,
booking/intake health screenings, including medical evaluation for imnate work details, regularly
scheduled sick call, nursing care, regular physician and dentist visits to the Jail, hospitalization,
mental health services, medical specialty services, emergency medical care, emergency ambulance
services when medically necessary, medical records management, pharmacy services management,
health education and training services, a quality assurance program, administrative support
services, and other services, all as more specifically described herein.

        1.3    Specialty Services. In addition to providing the general services described above,
Corizon shall provide to inmates of the Jail and be responsible for the payment of special medical
services including radiology services, laboratory services, and optometry services, including
eyeglasses, to the extent such are determined to be medically necessary by Corizon. Corizon shall
also be responsible for the disposal of all medically generated hazardous waste in accordance with
applicable federal, state and/or local laws. Where non-emergency specialty care is required and not
rendered at the Jail, Corizon will make appropriate off-site arrangements for the rendering of such
care and shall make arrangements with the Sheriff for the transportation of the imnates in
accordance with Section 1.9.

        1.4    Emergency Services. Corizon shall provide and be responsible for the payment of
emergency medical care, as medically necessary, to imnates through arrangements to be
determined by Corizon with local hospitals. Corizon shall provide qualified emergency ambulance
transportation services when medically necessary in connection with off-site emergency medical
treatment. Additionally, staff employed by the Sheriff and visitors to the Jail shall be treated within
the Jail for injuries and/or illnesses only in an emergency and/or as mutually agreed to by the
Parties. Corizon shall not be responsible for payment of emergency and follow-up services and
transportation provided to Sheriffs staff or visitors within the Jail in the event of an emergency.

        1.5 Utilization Management and Claims Adjudication for Off-Site Services. The Sheriff
is responsible for the cost of all Outside Medical Services (as defined below). Corizon shall serve
as the disclosed administrative agent of the Sheriff and will review/authorize all off-site referrals,
perform comprehensive utilization management, receive/process all invoices and adjudicate and
pay all claims for Outside Medical Services on behalf of the Sheriff.

        The term "Outside Medical Services" refers to all healthcare services which are not
provided on-site at the Jail, including inpatient hospitalization, emergency room visits, ambulance
transportation, outpatient surgeries, outpatient physician consultations, offsite medical specialist,
off-site diagnostic procedures, as well as all off-site and on-site ultrasounds, dialysis treatments and
associated medications, costs associated with HIV medications, genotype testing and viral load and
CD 4 testing, hospice care, and managed care network fees.


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        On a monthly basis, the Sheriff shall reimburse Corizon for all Outside Medical Services
claims paid by Corizon (collectively the "Monthly Reimbursements"). Within fifteen (15) days
after the end of each month Corizon will submit an invoice for Monthly Reimbursement which
shall be payable by the Sheriff within thirty (30) days ofreceipt. Each invoice shall be equal to the
actual amount of the Outside Medical Services claims paid by Corizon, as accumulated on a
contract year-to-date basis.

        In addition to the Monthly Reimbursements, the Sheriff will make a year-end
reimbursement (the "Year-End Reimbursement") of the Outside Medical Services claims paid by
Corizon within one hundred and fifty (150) days after the end of each annual contract year. Year~
End Reimbursements will be payable by Sheriff within thirty (30) days of receiving the invoice
from Corizon. The Patties recognize that Corizon will make every reasonable effort to control the
timeliness of the submission of claims from third party providers, but there may be instances in
which claims are received by Corizon after the 150 th day of the Year-End Reimbursement period.
In such instances, notwithstanding anything in this paragraph to the contrary, Sheriff agrees that it
will pay such claims to the extent the Sheriff is responsible under the provisions of this Section 1.5

        Corizon shall provide a monthly rep01t showing Outside Medical Services claims
processed, adjudicated and paid to support the calculation of each Monthly and Year-End
Reimbursement. Corizon's monthly documentation will be submitted in a format that provides
both a cumulative contract year-to-date report and a quarterly report.

        Notwithstanding the thhty (30) day payment obligation of the Sheriff as described above,
the Sheriff may dispute any invoice or p01tion thereof by notifying Corizon in writing within thirty
(30) days of receiving the invoice that the invoice is contested. The notice that an invoice is
contested must identify by line item each portion of the invoice contested and the reasons therefore.
All non-disputed items in the invoice will be paid within the thirty (30) day timeframe. The Sheriff
shall bear the costs of any legal or collection fees and expenses inctmed by Corizon in attempting
to enforce the Sheriffs payment obligations hereunder.

        Corizon shall respond to any disputed invoice matters within thirty (30) days of receiving
written notice from the Sheriff. Corizon shall determine if the Sheriff was properly invoiced for
the disputed items and either adjust the invoice or re-bill the Sheriff with an explanation. Upon
receipt of Corizon's reply, the Sheriff will have thirty (30) days to (i) pay Corizon for any amounts
Corizon determined were properly billed and which the Sheriff no longer disputes and (ii) notify
Corizon in writing of any amounts still in dispute in accordance with the process described above.
Either Patty may request mediation in accordance with Section 11.7 of the Agreement for any
amounts remaining in dispute.

       Once an inmate has been taken into the custody of the Sheriff, Corizon will be financially
responsible for the cost of all medical treatment for health care services (subject to the Outside
Medical Services exception noted in this Section 1.5 and the exceptions described in Sections 1.6
through 1.8), regardless of the nature of the illness or injury or whether or not the illness or injury
occurred prior or subsequent to the individual's incarceration at the Jail, once the inmate has been
determined to be medically stabilized. An inmate shall be considered medically stabilized when
the medical condition no longer requires immediate emergency medical care or outside
hospitalization so that the inmate can be reasonably housed inside the Jail.


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        1.6 Exceptions to Treatment. Corizon shall not be financially responsible for significant
changes in treatment standards, which are either not FDA approved at the stait date of this
Agreement or are not part of Corizon's written protocols in use at the Jail at the time this
Agreement is entered into. Should any new treatment, standard of care, drug classes, or diagnostic
tests be mandated and approved in relation to community health care standards for treatment and/or
required by the Corizon Medical Director as necessary for the treatment of inmates housed at the
Jail, and the cost of such treatment, in aggregate would exceed 2% of the annual contract amount
for any contract year, then the Sheriff and Corizon shall agree to negotiate for additional
compensation due to Corizon.

        Corizon shall not be responsible for medical costs associated with the medical care of any
fetus or infants born to inmates. Corizon shall provide health care services to pregnant inmates, but
health care services provided to an infant following birth will not be the responsibility of Corizon.
Corizon shall not be responsible for the costs of and/or the furnishing of any ab01tions unless such
procedure is declared medically necessary.

        Corizon shall not be financially responsible for the costs of and/or associated with any of
the following:
        1. Transplants;
        2. Smoking cessation treatment and/or classes;
        3. Exceptional blood factor products for hemophiliacs (e.g. Factors 8 and 9);
        4. Experimental procedures; and
        5. Medication costs associated with the treatment of Hepatitis C.

        Corizon will not be responsible for any medical testing and/or for obtaining samples which
are forensic in nature, except as required by Florida Statutes 943.325. Revisions of the Florida
statutes pertaining to medical testing or obtaining samples, which are forensic in nature, which
occur during the term of this Agreement will be considered a fmther obligation of Corizon.

        1.7    Inmates Outside the Jail. Health care services are intended only for those
inmates who are in the custody of the Sheriff and have been lawfully arrested and physically
booked into the Jail. This includes inmates booked into custody off-site and/or inmates under
guard by Sheriff off-site. The Sheriff shall notify the on-site Corizon staff of all inmates
booked off-site within 24 hours of said booking. Such inmates will be included in the average
daily inmate population count.

        Inmates on any so1t of temporary release (authorized or unauthorized), including but not
limited to, inmates temporarily released for the purpose of attending funerals or other family
emergencies, inmates on escape status, inmates on pass, parole, or supervised custody who do not
sleep in the Jail at night, will not be included in the daily population count, and will not be the
responsibility of Corizon with respect to any claim, liability, cost, or expense for the payment
and/or furnishing of health care services. The cost of medical services provided to inmates who
become ill or injured while on temporary release will not be the financial responsibility of Corizon
until their return to the Jail. This relates solely to the costs relating to the paiticular illness or injury
incutTed while on such temporary release. The cost of medical services for other illnesses and
injuries will be the responsibility of Corizon, as limited herein.



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        Inmates in the custody of other police agencies and/or other penal jurisdictions at the
request of the Sheriff are likewise excluded from the population count and are not the responsibility
of Corizon for the furnishing or payment of health care services.

        1.8 Elective Medical Care. Corizon will not be responsible for providing elective medical
care to inmates. For purposes of the Agreement, "elective medical care" means medical care which
if not provided, would not in the opinion of Corizon' s Medical Director cause the inmate's health
to deteriorate or cause definite harm to the inmate's well-being. Such decisions concerning medical
care shall be consistent with applicable laws and general medical standards. Corizon will give
notice to the Sheriff of any refe1wl of imnates for elective medical care prior to the provision of
such services.

        1.9     Transportation Services. To the extent any inmate requires off-site non-emergency
health care treatment, including, but not limited to, hospitalization care and specialty services, for
which care and services Corizon is obligated to pay for under this Agreement, the Sheriff will,
upon the prior request by Corizon, its agents, employees and/or contractors, provide transportation
as reasonably available, provided that such transportation is reasonably scheduled in advance.
When medically necessary, Corizon shall provide all emergency ambulance transportation of
imnates in accordance with Section 1.4 of this Agreement, subject to the limits set forth in Section
1.5.

        1.10 Medical Services to Sheriffs Office Staff. Corizon will provide annual testing for
tuberculosis (PPD test) for all Sheriffs newly sworn staff and correctional staff at the time of hire
or exposure at no additional costs to the Sheriff. The Sheriff will be responsible for the cost of all
testing supplies and materials. Corizon will provide a Hepatitis A, B and D inoculation program
for the Sheriff staff at the Jail, including administration and record keeping. The costs of the
vaccine will be the responsibility of the Sheriff. Corizon will bill the Sheriff monthly with
appropriate documentation of services.


                                    ARTICLE II: PERSONNEL

       2.1     Staffing. Corizon shall provide medical, mental health, dental, technical, and
support personnel as necessary for the rendering of health care services to inmates at the Jail as
described in and required by this Agreement. The Staffing Matrices attached hereto as Exhibits A
and B include the agreed-upon staffing compliment necessary to provide the health care and
support services required by the Jail for an average daily inmate population ofup to 1,199.

        2.2     Staffing Payback Schedule. For each of the positions included in the staffing
matrix attached hereto as Exhibits A or B, Corizon will payback the Sheriff for any unfilled hours.
For each unfilled hour of such staff time, the Sheriff will deduct from its monthly payment to
Corizon at the average hourly salary rate for the position as set fo1ih in Exhibit C. In all cases,
employees not currently working required position hours may be used to cover like positions when
their credentials are equal to or exceed the credentials required for such similar position. In the case
where an LPN covers RN hours, only the difference of the payback rate will be paid back.

       Unfilled hours include those hours which are not filled due to voluntary or involuntary
termination or any other reason or incident resulting in the position being unfilled. Corizon will

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calculate, reconcile, and rep01t any unfilled hours by position for each of the applicable bi-weekly
pay periods in a monthly report to the Sheriff. However, unfilled hours will not include those
hours not filled due to Corizon Paid Time Off (hereinafter "PTO"), for items such as illness,
annual, or personal leave. If the position remains unfilled in excess of fifteen (15) days an amount
will be payable to the Sheriff for each unfilled hour of such staff time at the average hourly rate
plus benefits as set forth above.

        In the event of staff shortages, the use of "agency" or "pool" nurses shall not exceed 15% of
the total staffing compliment for any monthly period. In the event Corizon exceeds this limit, a
charge back equal to one hundred percent ( 100%) of the average hourly salary rate for each of the
positions shall be assessed for each hour Corizon exceeds the fifteen percent (15%) cap.

        2.3     Licensure, Ce1tification and Registration of Personnel. All Corizon personnel
provided or made available to render services hereunder shall be licensed, certified or registered, as
appropriate, in their respective areas of expe1iise as required by applicable Florida law. Each
license or certification shall be on file at a mutually agreed upon central location. All prospective
Corizon employees will be screened by the Sheriff and no employee will be allowed on duty until
Corizon is notified of security clearance.

        2.4     Sheriffs Satisfaction with Health Care Personnel.          If the Sheriff becomes
dissatisfied with any health care personnel provided by Corizon hereunder, or by any independent
contractor, subcontractors or assignee, Corizon, in recognition of the sensitive nature of
correctional services, shall, following receipt of written notice from the Sheriff outlining the
grounds for such dissatisfaction and in consideration of the reasons therefore, shall exercise its best
effo1ts to resolve the problem. If the problem is not resolved satisfactorily to the Sheriff, the
Sheriff may revoke the employee's right to enter the Jail or Corizon shall remove or shall cause to
be removed any employee, agent, independent contractor, subcontractor, or assignee about whom
the Sheriff has expressed dissatisfaction. The Sheriff shall have the right of disapproval of any
person hired or contracted by Corizon. Should removal of an individual become necessary,
Corizon will be allowed thirty (30) days from the date of removal to find an acceptable replacement
without penalty or prejudice to the interests of Corizon.

        2.5    Use of Inmates in the Provision of Health Care Services. Inmates shall not be
employed or otherwise engaged by either Corizon or the Sheriff in the direct rendering of any
health care services. Upon prior written approval of the Sheriff, inmates may be used in positions
not involving the rendering of health care services directly to inmates.

        2.6    Subcontracting and Delegation. In order to discharge its obligations hereunder,
Corizon will engage certain health care professionals as independent contractors and/or employees.
The Sheriff may request to approve such professionals but approval will not be unreasonably
withheld. Subject to the approval described above, the Sheriff consents to such subcontracting or
delegation. As the relationship between Corizon and these health care professionals will be that of
independent contractor, Corizon will not be considered or deemed to be engaged in the practice of
medicine or other professions practiced by these professionals. Corizon will not exercise control
over the manner or means by which these independent contractors perform their professional
medical duties.    However, Corizon shall exercise administrative supervision over such
professionals necessary to ensure the strict fulfillment of the obligations contained in this
Agreement. (Please see Section 10.1).

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      2. 7    Discrimination.    During the perfonnance of this Agreement, Corizon, their
employees, agents, subcontractors, and assignees agree as follows:

               (a)    They will not discriminate against any employee or applicant for
                      employment because of race, color, religion, sex, age, Vietnam Veteran
                      status, disability as defined in the Americans with Disabilities Act or
                      national origin, except where age, religion, sex, disability or lack thereof or
                      national origin is a bona fide occupational qualification reasonably necessary
                      to the normal operation of the contractor. They will agree to post in
                      conspicuous places, available to employees and applicants for employment,
                      notices setting forth the provisions of this nondiscrimination clause.

               (b)    In all solicitations or adve1iisements for employees, they will state that it is
                      an equal oppmiunity employer.

               (c)    Notices, advertisements and solicitations placed in accordance with federal
                      law, rule, or regulation shall be deemed sufficient for the purpose of meeting
                      the requirements of this section.



                              ARTICLE III: ACCREDITATION

        3.1     Obligation of Corizon. Corizon services shall be designed to meet or exceed the
standards promulgated/developed by the National Commission on Correctional Health Care for
Jails (NCCHC), Florida Correctional Accreditation Commission (FCAC) and the Florida Model
Jail Standards. Corizon will cooperate fully with the Sheriff in all effo1is to maintain formal
accreditation of the Jail's health care program. Corizon will be responsible for the payment of the
fees for attaining NCCHC accreditation as well as those associated with the medical po1iion of
FCAC and Florida Model Jails. Corizon shall not be responsible for the standards of NCCHC,
FCAC, and the Florida Model Jail Standards not under Corizon's direct control or within the scope
of Corizon's services. In the event accreditation from the NCCHC is not maintained during the
term of this contract for failure on the paii of Corizon to comply with NCCHC standards, then
Corizon will pay a penalty of Fifty Thousand and 00/100 Dollars ($50,000) to the Sheriff as
liquidated damages.

       This obligation shall include providing written repo1is, on-site reviews, preparation of
forms and applications, and attendance at meetings as required by the Sheriff. Corizon shall not be
responsible for the standards of NCCHS, FCAC, and the Florida Model Jail Standards not under
Corizon's direct control or within the scope of Corizon's services.


                                 ARTICLE IV: EDUCATION

       4.1    Inmate and Staff Education. Corizon shall conduct an ongoing health education
program for inmates at the Jail with the objective of raising the level of inmate health and health


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care. If the Sheriff so desires, Corizon shall conduct the same program for correctional officers at
the Jail.

        At a mnmnum, Corizon staff will provide relevant training to the Sheriffs staff on a
quarterly basis. The topics for training shall be mutually agreed upon by the Parties.

        4.2    Medical Services Staff Education.           Corizon will require that its medical,
professional and para-professional staff receive all necessary and requisite legal and statutorily
mandated in-service, annual, or proficiency training and other such professional or para-
professional education and training programs needed to provide current proficiency in the
professional's or para-professional's particular medical discipline or specialty.


                           ARTICLE V: REPORTS AND RECORDS

        5.1     Medical Records. Corizon shall cause and require to be maintained a complete and
accurate medical record for each imnate who has received health care services from or at the
direction of Corizon. Each medical record will be maintained in accordance with applicable laws,
NCCHC standards, FCAC standards, and the Sheriffs policies and procedures. The medical
records shall be kept separate from the imnate's confinement record. A complete legible copy of
the applicable medical record shall be available, at all times, to the Sheriff and may be available to
accompany each inmate who is transferred from the Jail to another location for off-site services or
transferred to another institution. Medical records shall be kept confidential. Subject to applicable
law regarding the confidentiality of such records, Corizon shall comply with Florida law and the
Sheriffs policy with regard to access by inmates and Jail staff to medical records. No information
contained in the medical records shall be released by Corizon except as provided by the Sheriffs
policy, by a court order, or otherwise in accordance with applicable law. Corizon shall provide all
medical records, forms, jackets, and other materials necessary to maintain the medical records.
Upon the expiration or termination of this Agreement, all medical records shall be delivered to and
remain with the Sheriff. However, the Sheriff shall, within the limits of applicable law, provide
Corizon with reasonable ongoing access to all medical records even after the termination/expiration
of this Agreement to enable Corizon to properly prepare for litigation or anticipated litigation or
any other legal or regulatory action brought or tlu·eatened by third persons in connection with
services rendered during the term hereof.

Corizon agrees to coordinate any and all public records requests received by Corizon requesting
inmate medical records with the Sheriff.

       5.2 HIPAA Compliance. As a covered entity, Corizon shall comply with all applicable
Health Insurance Portability and Accountability Act of 1996 (HIP AA) requirements.

        5.3    Regular Reports by Corizon to the Sheriff. Corizon shall provide to the Sheriff, on a
date and in a form mutually acceptable to Corizon and the Sheriff, monthly and annual rep01is
relating to services rendered under this Agreement. Corizon shall submit monthly and other
periodic repo1is to the Director of the Jail or the Sheriff's Health Services Representative,
concerning and reflecting the overall health of the imnates committed to the custody of the Sheriff.
Such rep01is shall be submitted on a regular basis as agreed upon by mutual written agreement of
the Parties. Corizon will fully cooperate with the Sheriff to respond to reporting requests to

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support any provision or section of this Agreement, without any additional charge, fee, or
assessment to the Sheriff.

        5.4     Third Paiiy Reimbursement. Corizon will seek and obtain from any inmate
documentation concerning any health insurance the inmate might have that would cover services
rendered by Corizon hereunder, and the Sheriff will cooperate fully with Corizon in its efforts to
secure this information. Corizon shall make reasonable effmis to use any information obtained
concerning any third paiiy payor sources except for Medicaid and/or Medicare (for which Corizon
will not seek, direct, bill, or assist in reimbursement), including commercial health care insurance,
governmental health care benefits and/or programs (as permitted by law), and worker's
compensation insurance, which might be available to an imnate to cover services rendered or
atTanged for by Corizon hereunder. This shall include infonnation concerning (a) payor sources
from which an inmate may currently have coverage, and/or (b) payor sources for which an inmate
may meet eligibility requirements necessary to apply for such coverage. Corizon shall provide the
third-party source information it has collected to all off-site providers at the time an imnate is sent
for off-site health care services. Corizon will require that anyone acting on its behalf or providing
any medical service to an Inmate to seek reimbursement for any medical services, as allowed by
federal and state law and in accordance with the provisions of F.S. 901.35 (except for F.S.
90 l.35(2)(a) and (b ), as it may be applicable to the Board of County Commissions for Leon County
and F.S. 951.032.

        In any event, should a change in law, policy, or regulation result in greater third-Party
reimbursement for imnate medical costs, Corizon and the Sheriff hereby agree to work in
collaboration with one another so as to diligently research this matter and/or amend this Agreement
so as to maximize any potential benefits to the Sheriff as permitted by law.

        All third party remuneration that is recovered or credited by Corizon prior to submitting its
final invoice to the County (including payments collected from any third party source or entity,
including without limitation, workers compensation insurance, commercial medical insurance) will
be returned as appropriate to the Sheriff, as directed by the Sheriff. The Sheriff will receive a
monthly report outlining third pmiy reimbursement efforts made by Corizon.

        5.5    Imnate Information. Subject to the applicable Florida law, in order to assist Corizon
in providing the best possible health care services to inmates, the Sheriff will provide Corizon with
information pe1iaining to inmates that Corizon and the Sheriff mutually identify as reasonable and
necessary for Corizon to adequately perfonn its obligations hereunder.

        5.6     Corizon Records Available to the Sheriff with Limitations on Disclosure. Corizon
shall make available to the Sheriff, at the Sheriffs request, all records, documents and other papers
relating to the direct delivery of health care services to inmates hereunder with the exception of
those items Corizon deems proprietary in nature. In the event Corizon decides (as it is within its
sole discretion) to release proprietary material to the Sheriff, it is understood that such released
items shall remain the prope1iy of Corizon and may not, at any time, be used, distributed, copied or
otherwise utilized by the Sheriff, except in connection with the delivery of health care services
hereunder, and as permitted or required by law, unless such disclosure is approved in advance in
writing by Corizon.



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        With regard to any and all contractual agreements Corizon maintains and/or has maintained
in the past with off-site health care providers (hereinafter "Provider Agreements") relevant to its
duties and obligations as outlined herein, the Sheriff hereby acknowledges that the Provider
Agreements contain the business proprietary information of Corizon as defined by Florida law
(Chapter 119 et. seq.) and therefore are confidential in nature and protected from disclosure under
the Florida Open Records Act. Upon providing Corizon with a written request, Corizon shall allow
the Sheriff to review its Provider Agreements which directly relate and/or facilitate the provision of
health care services thereto. However, prior to receiving any access to Corizon's Provider
Agreements, the Sheriff inclusive of his or her agents, consultants, assignees, designees, and/or
subcontractors shall be required to execute and return a confidentiality agreement to Corizon.

        5.7     Sheriffs Records Available to Corizon with Limitations on Disclosure. During the
term of this Agreement and for a reasonable time thereafter, the Sheriff will provide Corizon, at
Corizon's request, Sheriffs records relating to the provision of health care services to inmates as
may be reasonably requested by Corizon or as are pertinent to the investigation or defense of any
claim related to Corizon's conduct. Consistent with applicable law, the Sheriff will make available
to Corizon such records as are maintained by the Sheriff, hospitals, and/or other outside health care
providers involved in the care or treatment of inmates (to the extent the Sheriff has any control over
those records) as Corizon may reasonably request. Any such information provided by the Sheriff
to Corizon that the Sheriff considers confidential and clearly labeled confidential shall be kept
confidential by Corizon and shall not, except as may be required by law, be distributed to any third
patty without the prior written approval of the Sheriff.

         5.8     Florida Public Record Law. Corizon will be responsible for keeping, maintaining
and retaining public records that ordinarily and necessarily would be required to be kept by the
Sheriff in order to perform the services contracted for. In adherence to Chapter 119, Florida
Statutes, Contractor will provide members of the public with access to said public records, as
contemplated in Chapter 119, Florida Statutes, on the same terms and conditions that the Sheriff
would provide the records and at a cost that does not exceed the cost provided in Chapter 119,
Florida Statutes, or as otherwise provided by law. Contractor will ensure that public records which
are exempt or, are confidential and exempt, are not disclosed except as authorized by law. In the
event Corizon should asse1t any proprietary or confidential status to any of its systems, methods,
procedures, and/or written materials and other controls employed by Corizon in the performance of
its obligation pursuant to this Agreement, then Corizon shall assert such claim on its own, and shall
defend and hold harmless the Sheriff, the Sheriffs employees, officers, appointees and agents
against all liabilities for Corizon's failure to comply with the requirements of the law with regard to
the release of records.


                                   ARTICLE VI: SECURITY

        6.1    General. Corizon and the Sheriff understand that adequate security services are
necessary for the safety of the agents, employees, and subcontractors of Corizon as well as for the
security of inmates and Sheriff's staff consistent with the c01Tectional setting. The Sheriff will use
reasonable efforts to provide sufficient security to enable Corizon, and its persom1el, to safely and
adequately provide the health care services described in this Agreement. Corizon, its staff and
personnel, understand the Jail in which services will be rendered is a detention or Jail facility and
that working in such a facility involves inherent dangers. Corizon, its staff and personnel fmther


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understand that the Sheriff cannot guarantee anyone's safety in such a facility and nothing herein
shall be construed to make the Sheriff, his deputies or employees a guarantor of the safety of
Corizon employees, agents, and/or subcontractors.

        In the event that any recommendation by Corizon for paiiicular health services for any
inmate or transfers to a medical facility should not be implemented and carried out for security
reasons, Corizon will be released from professional liability for any damages resulting from any
such decision on the part of the Sheriff not to respond or to institute a requested transfer of any
inmate.

        6.2   Loss of Equipment and Supplies. The Sheriff shall not be liable for loss of or
damage to equipment and supplies of Corizon, its agents, employees, or subcontractors unless such
loss or damage was caused by the negligence of the Sheriff or his employees.

       6.3     Security During Transpmiation Off-Site. The Sheriff will provide security as
necessary and appropriate in connection with the transportation of any inmate between the Jail and
any other location for off-site services as contemplated herein.


      ARTICLE VII: OFFICE SPACE, EQUIPMENT, INVENTORY AND SUPPLIES

        7.1     General. The Sheriff agrees to provide Corizon with office space, facilities,
equipment (including office furniture), and utilities sufficient to enable Corizon to perform its
obligations hereunder. Corizon will supply and be responsible for payment of telephone can'ier
services and equipment within the Jail for local and long distance access for use by its personnel.
Corizon shall provide all necessary office supplies, medical supplies, and additional equipment
necessary to comply with the terms of this Agreement. The Sheriff will provide necessary
maintenance and housekeeping of the office space and the medical facility. Corizon agrees it has
inspected the Jail and medical office space and that such space and facilities are sufficient for its
agents, employees, and/or subcontractors to perfonn all of the obligations required under this
Agreement. Sheriff shall be responsible for providing substitute space should the designated
medical facility become unsafe for any reason.

        7.2    Delivery of Possession. The Sheriff will continue to provide Corizon with
possession and control of all medical and office equipment and supplies, which are the Sheriffs
property and in place at the Jail's health care unit throughout the term of this Agreement. At the
termination of this or any subsequent Agreement, Corizon will return to the Sheriff possession and
control of all medical and office equipment ( i.e., furniture, file cabinets, etc.), in working order,
reasonable wear and tear excepted, which were in place at the Jail's health care unit prior to the
commencement of services under this Agreement.

        7.3    Maintenance and Replenislunent of Medical Equipment. Corizon will maintain all
Sheriff and Corizon medical equipment necessary for the performance of this contract in working
order during the term of this Agreement. Based on input from the Corizon Medical Director and/or
his/her designee and in consultation with the Sheriff, the Sheriff will consider submitting an annual
budget for capital medical equipment item, with a value in excess of $2,500.00/item per year,
necessary to provide services in the Jail. Corizon will purchase all medical equipment up to an
aggregate cost of $2,500.00 per year. Sheriff will provide to Corizon an annual inventory of

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Corizon owned equipment and equipment owned by the Sheriff and in use by Corizon. Ownership
of the purchased medical equipment will reve1i to the Sheriff upon termination of the Agreement.

        7.4    General Maintenance Services. The Sheriff will provide for each inmate receiving
health care services the same services and facilities provided by the Sheriff for all inmates at the
Jail including, but not limited to, daily housekeeping services, dietary services, building
maintenance services, personal hygiene supplies and services, and linen supplies.

       7.5   Supplies. Corizon warrants and represents that the quality and quantity of supplies
on hand during this Agreement will be sufficient to enable Corizon to perform its obligations
hereunder.

             ARTICLE VIII: TERM AND TERMINATION OF AGREEMENT

         8.1     Tenn. This Agreement will be effective at 12:01 a.m. on October 1, 2014. The
initial term of this Agreement shall be thirty six (36) months. This Agreement is renewable through
the mutual agreement (in writing) of the Paiiies under like terms for two (2) additional one (1) year
terms. Any extension must be agreed to no later than one hundred and twenty (120) days prior to
the termination of the then existing term.

      8.2     Termination.    This Agreement may be terminated as otherwise provided in this
Agreement or as follows:

               (a)    Termination by agreement. In the event that both Pmiies agree in writing,
                      this Agreement may be terminated on the terms and date stipulated therein.

               (b)    Termination without Cause. This Agreement may be cancelled without cause
                      by the Sheriff or Corizon upon one hundred twenty (120) days prior written
                      notice in accordance with Section 11.3 of this Agreement.

               (c)    Termination for Default. In the event either Party gives notice to the other
                      that such other Party has materially defaulted in the performance of any of
                      its material obligations hereunder and such default is not cured within thi1iy
                      (30) days following the provision of written notice thereof, the non-
                      defaulting Paiiy (also the Party issuing notice) shall have the right to
                      immediately terminate this Agreement.

               (d)    Annual Appropriations and Funding. Failure of the Leon County Board of
                      County Commissioners or other funding body to authorize or appropriate
                      funds sufficient for the Sheriff to meet his obligations hereunder.

               (e)    Immediate Termination by the Sheriff. The Sheriff, at the Sheriffs sole
                      discretion, may terminate this Agreement immediately upon the occurrence
                      of any of the following events:

                      1) The insolvency, bankruptcy, or receivership of Corizon;
                      2) Corizon fails to maintain insurance in accordance with the Insurance
                         Section of this Agreement, unless Corizon' s insurance carrier ceases to

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                           provide coverage without giving reasonable notice allowing Corizon to
                           obtain replacement coverage. In such circumstances, Corizon shall be
                           allowed reasonable time to solicit and bind new coverage without being
                           in default or otherwise penalized under the terms of this Agreement.
                           Corizon shall use all reasonable eff01is to obtain replacement coverage.

                (f)    Election or Appointment of Sheriff other than Larry Campbell. Should a
                       Sheriff other than Larry Campbell be elected or appointed during the initial
                       term of this Agreement or any renewable period, the Agreement may be
                       cancelled by the new elected or appointed Sheriff upon provided Corizon
                       with ninety (90) days written notice.


        8.3    Responsibility for Inmate Health Care. Upon termination of this Agreement, all of
Corizon's responsibility for providing health care services to all inmates, including inmates
receiving health care services at sites outside the Jail will terminate.


                                ARTICLE IX: COMPENSATION

       9.1    Base Compensation. For the period defined as Year 1 (October 1, 2014 through
September 30, 2015), the Sheriff will pay to Corizon the annual base sum of $4,084,393 payable in
twelve (12) equal monthly installments of $340,366.08. This annual base sum is based upon an
ADP of 1150.

        For the period defined as Year 2 (October 1, 2015 through September 30, 2016), the Sheriff
will pay Corizon an annual base sum equal to the Year 1 base compensation adjusted by the most
recent twelve (12) month percentage change in the Medical Care Component of the United States
Depaiiment of Labor Consumer Price Index ("CPI") for all Urban Consumers for the South region,
or 2%, whichever is less, payable in twelve (12) equal monthly installments.

        For the period defined as Year 3 (October 1, 2016 through September 30, 2017), the Sheriff
will pay Corizon an annual base sum an annual base sum equal to the Year 2 base compensation
adjusted by the most recent twelve (12) month percentage change in the Medical Care Component
of the United States Department of Labor Consumer Price Index ("CPI") for all Urban Consumers
for the South region, or 2%, whichever is less, payable in twelve (12) equal monthly installments.

        Corizon will invoice the Sheriff fifteen (15) days before the first day of the month for which
services will be rendered. The Sheriff agrees to pay Corizon on or before the thirtieth (30 th ) day of
the month for which services will be rendered. In the event this Agreement should terminate or be
amended on a date other than the end of any calendar month, compensation to Corizon will be
prorated accordingly based on the fractional portion of the month during which Corizon actually
provided services.

        9 .2    Increases/Decreases in Imnate Population. For the Year 1of the contract, a per diem
rate of 1.90 will be applied to the monthly base compensation for each inmate in excess of (beyond
a 24 hour period) 1150. For Year 2 of the contract, a per diem rate of 1.93 will be applied to the
monthly base compensation for each imnate in excess of (beyond 24 hours) 1150. For Year 3 of

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the contract, a per diem rate of 1.97 will be applied to the monthly base compensation for each
inmate in excess of (beyond 24 hours) 1150 will be paid to Corizon. If there is a decrease in
population (beyond a 24 hour period) of 1150 for year 1 of the contract a rate of 1. 90 will be
credited to LCSO. If there is a decrease in population of (beyond a 24 hour period) 1150 for year 2
of the contract a rate of 1.93 will be credited to the LCSO. If there is a decrease in population of
(beyond a 24 hour period) 1150 for year 3 of the contract a rate of 1.97 will be credited to the
LCSO

        The average daily population counts are added for each day of the month and divided by the
number of days in the month to determine the average daily inmate population. The excess, if any,
over or under the stated inmate population caps will be multiplied by the per diem rate and the
number of days in the month to arrive at the increase in compensation payable to Corizon or a
credit due the Sheriff for the month.

        This per diem is intended to cover additional costs in those instances where minor, short-
term increases in the inmate population result in the higher utilization of routine supplies and
services. However, the per diem is not intended to provide for any additional fixed costs, such as
new staffing positions, which might prove necessary if the inmate population exceeds 1150 for a
period of 60 (sixty) or more days. In such cases, Corizon reserves the right to increase its staffing
complement and adjust its contract price, upon consultation and approval from the Sheriff, in order
to continue to provide services to the increased number of inmates and maintain the quality of care.

Should the Sheriff designate any other Leon County site as a Jail requiring the provision of health
services by Corizon or change the configuration or layout of the current Jail, the parties agree to
negotiate the additional staff and compensation prior to Corizon commencing services at a newly
designated facility.

        9.3    Compensation for Renewal Terms. Pricing will be adjusted for the renewal terms
beyond the thirty six (36) month initial Agreement, based on the mutual written Agreement of the
Sheriff and Corizon.

        9.4    Inmates from Other Jurisdictions. Medical care rendered within the Jail to inmates
from other jurisdictions housed in the Jail pursuant to contracts between the Sheriff and such other
jurisdictions will be the responsibility of Corizon and will be included in the average daily inmate
population count. Corizon will arrange medical care that cam1ot be rendered in the Jail, but
Corizon shall have no financial responsibility for such services.

        9.5     Responsibility for Inmates in the Sheriffs Work Camp Program. Notwithstanding
any other provisions of this Agreement to the contrary, the Parties agree that inmates assigned to
the Sheriffs Work Camp Program are personally responsible for the costs of any medical services
provided to them. Corizon shall assist with airnnging the necessary transportation for these
im11ates to obtain medical care.

        9.6    Changes. If any statute, rule, or regulation is passed or any order issued or any
statute or guideline adopted or interpretation made, or additional facilities are opened that
materially changes the scope of services or materially increases the cost to Corizon of providing
health care services hereunder, Corizon and the Sheriff agree to negotiate additional compensation
to be paid by the Sheriff to Corizon as a result of such changes, provided that if the Parties are

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unable to agree on appropriate compensation, the matter shall be submitted to mediation according
to the provisions of Section 11. 7 hereof.

        9. 7    Late Payments. The Sheriff shall pay Corizon interest on all amounts due and owed
hereunder that are not paid within thiliy (30) days from the receipt of the applicable invoice.
Interest shall accrue from the date the original payment was due at the statutory interest per annum
as set forth in F.S.A. 55.03, et. seq. Additionally, the Sheriff shall bear the costs of any legal or
collection fees and expenses incurred by Corizon in attempting to enforce the Sheriffs payment
obligations hereunder.




                    ARTICLE X: LIABILITY AND RISK MANAGEMENT

         10.1 Insurance. At all times during this Agreement, Corizon shall maintain Professional
Liability insurance covering Corizon, its employees, its officers and agents in the minimum amount
of at least one million dollars ($1,000,000) per occurrence and three million dollars ($3,000,000) in
the aggregate. Physicians and dentists provided by Corizon will be included in the coverage. After
the contract period, a tail policy or a policy that continues coverage for the services performed
during the contract period will be maintained for an appropriate period in accordance with the
Florida Statute of Limitations. Corizon shall list the Sheriff as an additional insured and in the
event its insurance coverage changes, Corizon shall provide the Sheriff with written notice of such
changes within a reasonable time not to exceed thiliy (30) days from the happening thereof.

       Corizon will maintain over the term of this Agreement, Comprehensive General Liability
coverage of at least $1,000,000 each claim and $2,000,000 in the aggregate.

       Corizon will maintain over the term of this Agreement, Worker's Compensation Insurance
for all of its employees connected with the work of this Agreement and in any case of
subcontracting, will require that the subcontractor have sufficient coverage as well. Such insurance
will comply fully with the Florida Worker's Compensation Law.

         10.2 Lawsuits Against the County and Sheriff. In the event that any lawsuit (whether
frivolous or otherwise) is filed against either Leon County, the Sheriff, his employees and/or agents
based on and/or containing allegations concerning medical care by Corizon to inmates or on the
performance of Corizon's employees, agents, subcontractors or assignees, the Parties agree that
Corizon, its employees, agents, subcontractors, assignees or independent contractors, as the case
may be, may be joined as Parties in any such lawsuit and shall be responsible for their own defense
and any judgments rendered against them. Nothing herein shall prohibit any of the Pai1ies to this
Agreement from joining the remaining Parties hereto as defendants in lawsuits filed by third
Paiiies.

        10.3 Indemnity.      Corizon agrees to indemnify and hold harmless, pay the cost of
defense, including reasonable attorney's fees, and save the Sheriff, his officers, appointees, agents,
and employees from any claim, action, lawsuit, loss, damage, cost, charge, judgments, liabilities, or
expense of any kind whatsoever arising out of any act, action, neglect, omission and/or failure to
act by Corizon, including but not limited to, any claims, amounts or injuries covered under the

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Workers' Compensation laws, except as a third party claim outside Workers' Compensation,
resulting or arising from Corizon's obligations and duties under this Agreement, except that neither
Corizon nor any of its subcontractors shall be liable for any injury or damage caused by or resulting
from the negligence of the Sheriff, his officers, agents, and/or employees.

        It is the express understanding of the Parties hereto that Corizon shall provide the actual
health care services and have complete responsibility for the health care services provided by its
employees, agents, or subcontractors, and any lawsuit arising solely out of such delivery of health
care services. Corizon expressly agrees that employees assigned by Corizon to provide health care
services pursuant to this Agreement are employees of Corizon and not the Sheriff, and the Sheriff
will not be liable or responsible for Corizon's employees, agents, or subcontractors acts or
omissions, whether by negligence or by deliberate act.

        Notwithstanding other provisions of this section, the Sheriff shall have no obligation to
provide legal counsel or a legal defense to Corizon in the event that a suit, claim, or action of any
character or nature is brought by any person not a party to this Agreement against Corizon as a
result of or relating to Corizon's duties, obligations, and performances pursuant to this Agreement.
The Sheriff shall have no obligation for the payment of any judgment or the settlement of any
claims made against Corizon as a result of or relating to Corizon's obligations, duties, and
performances under this Agreement.

       In no event shall Corizon's obligations in this section apply or extend to:

               a)     any claim, liability, cost or expenses arising or incuned at any time in
                      connection with treatment of any inn1ate's injury if such treatment was not
                      within the responsibility of Corizon's care pursuant to this Agreement; or

               b)     any claim, liability or cost arising out of the acts or omissions of any
                      Sheriffs officers, agents or employees which prevent an inmate from
                      receiving medical care as directed by Corizon; to obtain prompt medical
                      review or examination by Corizon's employees or contractors.

       Nothing herein is intended to or shall be construed to waive any rights the Sheriff may have
under the laws of Florida, included but not limited to, the provisions of Section 768.28 of the
Florida Statutes.

       10.4 Stop Loss Insurance Coverage. In the event the Sheriff elects to maintain stop loss
insurance coverage relevant to the health care services provided pursuant to this Agreement,
Corizon hereby agrees to facilitate the administrative details (limited to billing activities) 111
maintaining the coverage as long as the Sheriff cooperates fully throughout the process.




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                                 ARTICLE XI: MISCELLANEOUS

        11.1 Independent Contractor Status. The Parties acknowledge that Corizon is an
independent contractor and that all medical care decisions will be the sole responsibility of
Corizon. Nothing in this Agreement is intended nor shall be construed to create an agency
relationship, an employer/employee relationship, a joint venture relationship, or any other
relationship allowing the Sheriff to exercise control or direction over the manner or method by
which PHS, its employees, agents, assignees, or its subcontractors perform hereunder.

        11.2 Assigmnent and Subcontracting. Corizon shall not assign or subcontract this
Agreement, in whole or in part, to any other entity or person without the express written consent of
the Sheriff, which consent shall not be unreasonably withheld. Any such assignment or subcontract
shall include the obligations contained in this Agreement. Any assignment or subcontract shall not
relieve Corizon of its independent obligation to provide the services and be bound by the
requirements of this Agreement. The Sheriff and Corizon each binds itself, its successors, assig£1s,
and legal representatives to the other Party hereto and to the successors, assigns and legal
representatives of such other Patty in respect to all covenants, agreements, and obligations
contained herein.

        11.3 Notice. Unless otherwise provided herein, all notices or other communications
required or permitted to be given under this Agreement shall be in writing and shall be deemed to
have been duly given if delivered personally in hand or sent by certified mail, return receipt
requested, postage prepaid, and addressed to the appropriate patty at the following address or to
any other person at any other address as may be designated in writing by the Patties:


       (a)     Lany Campbell
               Leon County Sheriff
               2825 Municipal Way
               Tallahassee, FL 32304

             With copies to:

               Brent Coughlin
               Jail Commander
               2825 Municipal Way
               Tallahassee, FL 32304

       (b)     Dr. Woodrow A. Myers, Jr.
               Chief Executive Officer
               Corizon Health, Inc.
               105 Westpark Drive, Suite 200
               Brentwood, Tennessee 37027

               With a copy to:

               Chief Legal Officer
               Corizon Health, Inc.

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               105 West Park Drive, Suite 200
               Brentwood, Tennessee 37027

       Notices shall be effective upon receipt.

        11.4 Governing Law. This Agreement and the rights and obligations of the Pai1ies hereto
shall be governed by and construed in accordance with the laws of the State of Florida and venue
shall be in Leon County, Florida, unless statutorily required to file elsewhere.

        11.5 Entire Agreement. This Agreement constitutes the entire Agreement of the Parties
and is intended as a complete and exclusive statement of the promises, representations,
negotiations, discussions, and/or agreements that have been made in connection with the subject
matter hereof. No modifications or amendments to this Agreement shall be binding upon the
Parties unless the same is in writing and signed by the respective Parties hereto. All prior
negotiations, agreements, and understandings with respect to the subject matter of this Agreement
are superseded hereby.

       11.6 Amendment. This Agreement may only be amended or revised in a written
instrument signed by all the Pm1ies hereto.

        11. 7 Dispute Resolution. Any controversy or claim arising out of or relating to this
contract, or the breach thereof, shall be first sent to mediation for possible resolution. The Parties
agree to share equally the cost of the mediation.

        11. 8 Waiver of Breach. The waiver by either Party of a breach or violation of any
provision of this Agreement shall not operate as, or be construed to be, a waiver of any subsequent
breach of the same or other provision hereof.

       11. 9 Enforcement. In the event either Pm1y incurs legal expenses or costs to enforce the
terms of this Agreement, the prevailing Party in any arbitration/litigation proceeding hereunder
shall be entitled to recover the cost of such action so incurred, including without limitation,
reasonable attorney's fees. The Sheriffs obligation under this section shall be to the extent
permitted by law.

        11.10 Other Contracts and Third-Pm1y Beneficiaries. The Pm1ies agree they have not
entered into this Agreement for the benefit of any third person or persons, and it is their express
intention that the Agreement is intended to be for their respective benefit only and not for the
benefit of others who might otherwise be deemed to constitute third-pm1y beneficiaries hereof.

       11.11 Severability. In the event any provision of this Agreement is held to be
unenforceable for any reason, the unenforceability thereof shall not affect the remainder of the
Agreement, which shall remain in full force and effect and enforceable in accordance with its
terms.

        11.12 Force Majeure. Neither Party shall be held responsible for any delay or failure in
performance (other than payment obligations) to the extent that such delay or failure is caused,
without limitation, by strikes, inmate disturbances, acts of public enemy, fire, flood, earthquakes,
hurricanes, failure of transportation, explosion, war, embargo, government regulation, civil or

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military authority, acts of God, acts or omissions of carriers, or other similar causes beyond its
control.

    Should emergency staffing (above the contracted hours) be necessary to support the Jail during
a FEMA recognized event, Corizon will invoice the Sheriff accordingly. If FEMA reimburses the
Sheriff, the Sheriff will pay the invoice.

         11.13 Trial Duty. In the event Corizon's personnel is required to devote time with regard
to litigation or threatened litigation by or on behalf of the Sheriff this shall be part of their service
time pursuant to this Agreement. Corizon will make every effort to fill the position that is vacant
due to such comi or trial appearance requirements and Corizon will not be assessed a penalty for
any related unfilled hours.

        11.14 Default.         Unless Corizon's performance is specifically exempted by this
Agreement, the Sheriff shall be entitled to a credit or reimbursement for any cost the Sheriff incurs
for any medical services required to be performed by Corizon when and to the extent that Corizon
shall fail to perform and a thi1iy (30) day cure period has passed. The credit or reimbursement
provided for in this section shall not be deemed to be the sole remedy of the Sheriff and the Sheriff
is otherwise entitled to seek all other lawful remedies the Sheriff is entitled to under this
Agreement.

        11.15 Funding Sources. The Parties acknowledge that the performance of this Agreement
and payment for medical services to Corizon pursuant to this Agreement are predicated on the
continued annual appropriations by the Board of County Commissioners of Leon County to the
Sheriff with specific funds allocated to meet the medical needs of the inmates in the Jail and the
Sheriffs ability to perform under this Agreement.

        11.16 Permits and License. Corizon acknowledges that it will maintain and pay for all
relevant permits and licenses required to perform the services required by this Agreement. This
will include, but not be limited to licenses and pennits for radiology and pharmacy. Corizon shall
manage and maintain all licenses and permits in accordance with Section 7.2 of the Florida Model
Jail Standards. Corizon shall ensure that all individuals or entities performing the health care
services required under this Agreement, including its employees, agents, assignees, subcontractors
or independent contractors shall be appropriately licensed, registered or ce1iified as required by
applicable law. Corizon shall immediately notify the Sheriff of any revocation, suspension,
termination, expiration, restrictions, etc., of any required license, registration or ce1iification of any
individual or entity to perform the services herein specified.

       11.17 Effect of This Agreement. This Agreement constitutes the complete understanding
between the Parties with respect to the terms and conditions set forth herein and supersedes all
previous written or oral agreements and representations. The terms and conditions of this
Agreement shall control over any terms and conditions in any solicitation, request for proposal,
proposal, purchase order, acknowledgment, or other written form.

       11.18 Authority. Each Party hereto expressly represents and warrants that the person
executing this Agreement is the legal, valid, and binding representative of each Party.



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         11.19 Exhibits. Exhibits A, B, and C are included as attaclunents and are hereby made a
part of this Agreement.

        11.20 Audit. The Sheriff reserves the right to audit all records relating to this Agreement.

        11.21 Miscellaneous. Corizon will begin implementation of an Electronic Health Record
(EHR) system at Leon County Jail within 6 months of the date of this Agreement and complete the
implementation by the fourth quarter of 2015 . Corizon also agrees to implement DEXIS, a digital
dental diagnostic imaging system, and InterMedHx medication reconciliation system. Corizon will
be financially responsible for the software required for these systems and the Sheriff will be
financially responsible for obtaining all hardware required for these systems. If the Sheriff
terminates the Agreement without cause before the initial thirty-six (36) month term expires, the
Sheriff agrees to promptly reimburse Corizon for the EHR system at a rate of $6,250.00 multiplied
by the number of months remaining under the initial contract term. If the Sheriff declines to
exercise any renewal option under the Agreement, Corizon will transfer its license for the EHR
system to the Sheriff and the Sheriff will be responsible for any applicable annual maintenance and
hosting charges for the EHR system owed to the EHR provider.

        IN WITNESS WHEREOF, the Parties have executed this Agreement in their official
capacities with legal authority to do so.

LEON COUNTY SHERIFF

By      al~ ~                                         ~ORIP ~ ,             ~


Title: She1iff                                               is i &Mt r loo
                                                      Title: ~{

Date:   9/30/14                                       Date: l ~,, 3,, ti

ATTEST:                                                ATTEST:

By: ~


Date:   9/30/14




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                                                                  by LEGAL DEPT.


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